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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

                                                  CIVIL ACTION NO. 3:23-CV-30084


THE RIGHT TO BEAR FARMS LLC &
SILLY GOOSE PRODUCTIONS LTD,
       Plaintiffs,

v.

DEGRENIER CONTRACTING AND
PROPERTY MANAGEMENT LLC,
CHAD DEGRENIER & CARIN
DEGRENIER,
       Defendants


                               STIPULATION OF DISMISSAL


       In accordance with the provisions of Fed.. R. Civ. P. 41, the parties to the above-

captioned matter hereby stipulate to dismiss with prejudice, without costs or attorney’s fees, and

waiving all rights of appeal, any and all claims against the defendants, in the above action.


 Plaintiff,                                        Defendants, DeGrenier Contracting and
 By Its Attorneys,                                 Property Management LLC, Chad DeGrenier
                                                   & Carin DeGrenier,

                                                   By Their Attorneys,
 /s/__Jennifer E. McDonald
 ____________________________                      /s/    Kathleen A. Federico _____________
 Jennifer E. McDonald, Esq.                        Grace V.B. Garcia, BBO #640970
 Appearing Pro Hac Vice                            ggarcia@morrisonmahoney.com
 Downs Rachlin Martin PLLC                         Kathleen A. Federico, BBO #682722
 199 Main Street, PO Box 190                       kfederico@morrisonmahoney.com
 Burlington, VT 05402-0190                         MORRISON MAHONEY LLP
 (802) 863-2375                                    250 Summer Street
 Fax: (802) 862-7512                               Boston, MA 02210-1181
 jmcdonald@drm.com                                 Phone: 617-439-7500
                                                   Fax:     617-342-4931




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                                      Certificate of Service

        I hereby certify that this documents(s) filed through the CM/ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non registered participants on May 15, 2025.

                                                     /s/ Kathleen A. Federico
                                                     __________________________
                                                     Kathleen A. Federico




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